Case 1:05-cv-01102-.]DT-STA Document 4 Filed 07/20/05 Page 1 of 4 Page|D 9

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IN THE UNITED STATES DISTRICT CoURT 03`/ §§ y
FOR THE WESTERN DISTRICT oF TENNESSEE (/Z 30 \

EASTERN DIVIsIoN AT JACKSON ?/ p0 ' ' 00
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PEGGY LEE soMMERs, j
and JoHN SOMMERS, <'i
Ptaimiffs,

V.

WAL-MART STOR_ES, INC.,

DOCKET NO. 1-05-1102-T
JURY TRIAL DEMANDED

Defendant.

 

lmRULE 16(B) SCHEDULING ORDER

 

Pursuant to Pursuant to the scheduling conference set by written notice, the following

dates are established as the final dates for:

M CJ 891839 vl

INITIAL DIScLoSURES (RULE 26(3)(1))= Auggst 12. 2005

JOINING PARTIES:

For Plaintiff: September 29. 2005

For Defendant: October 28. 2005
AMENDING PLEADINGS:

F or Plaintiff: Segtember 29. 2005
For Defendant: October 28. 2005

COMPLETING ALL DISCOVERY: March 29. 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS
ADMISSIONS: March 29. 2006

(b) EXPERT DISCLOSURE (Rule 26(3)(2)):

(i) Plaintiff’s Experts: Januag; 27, 2006

This document entered on the docket sheet in compliance

2825365-000173 07!'19/05 With Rule 58 and,'D|'_79 (a) FRCP On q

Case 1:05-ov-01102-.]DT-STA Document 4 Filed 07/20/05 Page 2 of 4 Page|D 10

(ii) Defendant’s Experts: Februar_'y 28. 2006
(iii) Supplementation under Rule 26(e): March 10l 2006

(c) DEPOSITIONS OF EXPERTS: March 29, 2006

FILING DISPOSITIVE MOTIONS: March 10, 2006

FINAL LISTS OF WITNESSES AND EXI~IIBITS (Rule 26(a)(3)):

For Plaintiff: April 28. 2006

For Defendant: May 13, 2006

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last two (2) days and is SET for JURY TRIAL on
June 14, 2006, at 9:30 a.m. A joint pretrial order is due on Friday, June 9, 2006. In the event the
parties are unable to agree on a joint pretrial order, the parties must notify the Court at least ten
days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,

or answer shall be waived.

M CJ 891839 vl
2825865-000173 07119/05

Case 1:05-ov-01102-.]DT-STA Document 4 Filed 07/20/05 Page 3 of 4 Page|D 11

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If` a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovery.

This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or

 

 

extended.
IT IS SO ORDERED.
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S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

Date: qu.aal cp@l, 51fo

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 4 in
case l:OS-CV-Ol 102 was distributed by f`aX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Clinton J. Sirnpson

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David M. Waldrop

HOLLEY WALDROP NEARN & LAZAROV
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Honorable J ames Todd
US DISTRICT COURT

